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PROB l2B                                                                         SD/FL PACTSNo.101524
(SD/FL9/96)

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                             SO UT H ERN D IST RICT O F FL O R ID A

                             C A SE N O .09cr20686-R osenbaum

                   R equestfor M odifyinz the C onditions or Term ofSupervision
                                  w ith C onsentofthe O ffender
                                  (ProbationForm 49,Wai
                                                      verofHearingi
                                                                  sAttached)


NnmeofOffender:M elvisRnm irezSainz

N ame ofSentencing JudicialOfficer:The Honorable Adalberto Jordan,United StatesDistrictJudge,
M iam i,Florida

N ameofReassignedJudicialOfficer:TheHonorableRobin S.Rosenbaum ,United StatesDistrictJudge,
FortLauderdale,Florida

Date ofO riginalSentence:Decem ber9,2009

OriginalOffense'
               .      Count1:ConspiracytoCommitCreditCardFraud,18U.S.C.j1029(b)(2),aClass
                      D felony

                      Count2:CreditCardFraud,18U.S.C.j1029(a)(2),aClassC felony
                      Count5:AggravatedldentityTheft,18USC j1028A(a)(1),aClassE felony
OriginalSentence: Fifteen(15)monthsastoeachofCountsland2,tobeservedconcurrently,and 15
                      m onthsasto Count5,tobe served consecutively asto Counts1and 2,custody of
                      theBureauofPrisons,two(2)yearssupervisedreleaseastoeachofCounts1and
                      2,and one (1)yearasto Count5,to run concurrently.The Courtincluded the
                      followingspecialconditions:1)Thedefendantshallmaintainfulltimelegitimate
                      employmentand notbeunemployed foraterm ofmorethan 30 days;2)The
                      defendantshallprovidecompleteaccesstofnancialinformation.3)Thedefendant
                      shallobtain priorwritten approvalfrom the Courtbefore entering into any self-
                      em ployment;Thedefendantshallpay restitution $ 32,936.75.A $300.00 special
                      assessmentWaSalSO imposed.

                      On Septem ber24,2012,the defendant'sconditions ofsupervision w ere m oditied
                      to includethedefendantshallparticipatein an approved inpatient/outpatientm ental
                      health treatm entprogrnm .

Type of Supervision:Supervised Release               D ate Supervision C om m enced:A pril 12,2011
    Case 1:09-cr-20686-MGC Document 82 Entered on FLSD Docket 12/18/2012 Page 2 of 2
#
    PRO BLl9
    (SD/F  2B
            /96)                                                                SD/FL PACTSNo.101524

                                 PETITIO N IN G TH E CO U R T

    U   To extendtheterm ofsupervisionfor years,foratotalterm of years.
                                              -                           -

    (XJ Tomodifytheconditionsofsupervisionasfollows:
           The defendantshallperform 75hoursofcommunity serviceasm onitored by theU .S.Probation
           Officer.

                                                  CA USE
           Violation of Standard Condition,by failing to notify the probation office of a change in
           residence.On oraboutNovember 1,2012,thedefendantmoved from herapproved residence of
           2515 SW 7Street#8,M inm i,Florida,andfailedtonotifytheprobationofficer10dayspriortoany
           change.

2)         ViolationofSpecialCondition,byfailingtoparticipateinanapprovedmentalhealthtreatment
          program .On oraboutNovember2012,thedefendantfailedtoattend herscheduledappointm ents
          with Dade Fam ily Cotmseling as directed by the Court,and m onitored by the U .S.Probation
          Officer.


                                                               espec lly subm itted,

                                                     by

                                                             etty M enendez-Aponte
                                                            U .S.Probation Officer
                                                            Phone:(305)523-5317
                                                            Date:Decem ber13,2012


THE COURT ORDERS:

E1        N0Action
()        TheExtensionofSupervisionasNotedAbove
          TheM o 1lcation ofCon 'tionsas o e
          SubmitaRequestfor        antor Sum m ons
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                                                                   Date
